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Attorneys for Defendant
APPLE INC.


                            UNITED STATES DISTRICT COURT

                          NORTHERN DISTRICT OF CALIFORNIA
                                     SAN FRANCISCO DIVISION


LAUREN HUGHES and JANE DOE,                          Case No. 3:22-cv-07668-VC
individually and on behalf of all others similarly
situated,                                            DECLARATION OF TIFFANY
                                                     CHEUNG IN SUPPORT
                       Plaintiffs,                   STIPULATION AND [PROPOSED]
                                                     ORDER TO SET DEADLINE FOR
       v.                                            APPLE INC.’S ANSWER TO
                                                     AMENDED COMPLAINT
APPLE INC., a California corporation,

                       Defendant.                    Judge: Honorable Vince Chhabria


                                                     Second Am. Compl. Filed: April 5, 2024




CHEUNG DECL. ISO STIP AND [PROPOSED] ORDER TO SET ANSWER DEADLINE
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       I, TIFFANY CHEUNG, hereby declare as follows:

       1.       I am an attorney admitted to practice in the State of California and before this

Court, and I am a partner of the law firm of Morrison & Foerster LLP, counsel of record for

Defendant Apple Inc. (“Apple”). I make this declaration on my own personal knowledge, and if

called as a witness to testify, I could and would testify competently to the following facts.

       2.       The parties met and conferred on May 9, 2024 to discuss setting a deadline for

Apple to file its answer to the complaint. Plaintiffs agreed to stipulate that Apple’s deadline to

file its answer would be 45 days after the Court issues a motion to dismiss order without leave to

amend, or after any deadline for amendment set in a motion to dismiss order has passed without

an amended complaint being filed.

       3.       The parties have previously stipulated twice to extend Apple’s deadline to

respond to the complaint in this case (ECF Nos. 25, 35).



       I declare under penalty of perjury under the laws of the State of California that the

foregoing is true and correct.

       Executed this 22nd day of May, 2024, at Oakland, California.



                                                    /s/ Tiffany Cheung
                                                       Tiffany Cheung




CHEUNG DECL. ISO STIP AND [PROPOSED] ORDER TO SET ANSWER DEADLINE
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